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     EXHIBIT A TO SUPPLEMENTAL CURE NOTICE

        SCHEDULE OF REMOVED CONTRACTS
                                                        Case 23-10961-BLS           Doc 249-1   Filed 09/01/23      Page 2 of 2
In re Williams Industrial Services Group, Inc. et al. , No. 23-10961-BLS
Non-debtor Counterparty                              Debtor Counterparty                    Description                                         Cure Costs
Tennessee Valley Authority                           Williams Plant Services, LLC           PO# BFN Control Room Lighting Support                            $0.00
Tennessee Valley Authority                           Williams Plant Services, LLC           PO# NPG Fleet Center Estimating                                  $0.00
Tennessee Valley Authority                           Williams Plant Services, LLC           PO# WBN Boron Ice Making System Implementation                   $0.00
Tennessee Valley Authority                           Williams Plant Services, LLC           PO# TVA/SQNU2 HDT FWH INTL PLN/CP                                $0.00
Tennessee Valley Authority                           Williams Plant Services, LLC           PO# SQN I&C Planning Support for U2                              $0.00
Tennessee Valley Authority                           Williams Plant Services, LLC           PO# SQN Task Manager Support Reactor Head Stand                  $0.00
Tennessee Valley Authority                           Williams Plant Services, LLC           PO# SQN Boot Seal Replacement for U2 U2R25 Outage                $0.00
Tennessee Valley Authority                           Williams Plant Services, LLC           PO# SQN Compressor Replacement                                   $0.00
Tennessee Valley Authority                           Williams Plant Services, LLC           PO# SQN Material Handling/General Support                        $0.00
Tennessee Valley Authority                           Williams Plant Services, LLC           PO# SQN Wattle Installation                                      $0.00
Tennessee Valley Authority                           Williams Plant Services, LLC           PO# SQN Service Task Laborer Support                             $0.00
Tennessee Valley Authority                           Williams Plant Services, LLC           PO# SQN U1 Wattle Installation Part 2                            $0.00
Tennessee Valley Authority                           Williams Plant Services, LLC           PO# SQN Paint The ACP                                            $0.00
Tennessee Valley Authority                           Williams Plant Services, LLC           PO# SQN Painter Support for Beautification                       $0.00
Tennessee Valley Authority                           Williams Plant Services, LLC           PO# WBN Control Room Planning Support                            $0.00
Tennessee Valley Authority                           Williams Plant Services, LLC           PO# WBN Phase 2 AVR Planning Support                             $0.00
Tennessee Valley Authority                           Williams Plant Services, LLC           PO# WBN U2 RCS Cold Leg Shimms U2R25 Planning                    $0.00
Tennessee Valley Authority                           Williams Plant Services, LLC           PO# WBN Fleet Center Planning Support                            $0.00
Tennessee Valley Authority                           Williams Plant Services, LLC           PO# Watauga Dam Fiber Project                                    $0.00
Tennessee Valley Authority                           Williams Plant Services, LLC           PO# Normandy Dam Gravel & Fence Project                          $0.00
Tennessee Valley Authority                           Williams Plant Services, LLC           PO# Cherokee Dam Excavating and Concrete Project                 $0.00
Tennessee Valley Authority                           Williams Plant Services, LLC           PO# Beech Dam Camera Safety Project                              $0.00
Tennessee Valley Authority                           Williams Plant Services, LLC           PO# Cherokee Dam Safety Camera Project                           $0.00
